                UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA,

                       Plaintiff,
                                                   Case No. 19-CR-248-11-JPS
v.

MARIO J. NAVARRO,
                                                                    ORDER
                       Defendant.


         On June 12, 2020, the parties filed a plea agreement, indicating that

Defendant had agreed to plead guilty to Count One of the Information.

(Docket #144). An Information was filed on June 12, 2020. (Docket #145). On

August 14, 2020, Defendant filed a waiver of Indictment and consent to

prosecution by Information. (Docket #175). The parties appeared via video

conference before Magistrate Judge Nancy Joseph on August 14, 2020 to

conduct a plea colloquy pursuant to Federal Rule of Criminal Procedure 11.

(Docket #177). Defendant entered a plea of guilty as to Count One charged

in the Information. (Id.) After cautioning and examining Defendant under

oath concerning each of the subjects mentioned in Rule 11, Magistrate Judge

Joseph determined that the guilty plea was knowing and voluntary, and

that the offense charged was supported by an independent factual basis

containing each of the essential elements of the offense. (Docket #177 and

#178).

         Thereafter,   Magistrate   Judge   Joseph   filed   a   Report   and

Recommendation with this Court, recommending that: (1) the defendant’s

plea of guilty be accepted; (2) a presentence investigation report be

prepared; and (3) the defendant be adjudicated guilty and have a sentence



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imposed accordingly. (Docket #178). Pursuant to General L. R. 72(c) (E.D.

Wis.), 28 U.S.C. § 636(b)(1)(B), and Federal Rules of Criminal Procedure

59(b) or 72(b) if applicable, the parties were advised that written objections

to that recommendation, or any part thereof, could be filed within fourteen

days of the date of service of the recommendation.

       To date, no party has filed such an objection. The Court has

considered Magistrate Judge Joseph’s recommendation and, having

received no objection thereto, will adopt it.

       Accordingly,

       IT IS ORDERED that Magistrate Judge Nancy Joseph’s report and

recommendation (Docket #178) be and the same is hereby ADOPTED.

       Dated at Milwaukee, Wisconsin, this 6th day of November, 2020.

                                   BY THE COURT:



                                   ____________________________________
                                   J. P. Stadtmueller
                                   U.S. District Judge




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